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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
WANDA SAVAGE,                        )
                                     )
              Plaintiff,             )
                                     )
              v.                     )    Civil Action No.: 1:15-CV-00791-CRC
                                     )    ECF
ERIC D. HARGAN., Sec’y               )
Dep’ t of Health and Human Services, )
                                     )
              Defendant.             )
____________________________________)

 REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR LEAVE

      Please see ECF No. 104.

December 22, 2017                    Respectfully submitted,

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                                     United States Attorney
                                     for the District of Columbia

                                     DANIEL F. VAN HORN, D.C. Bar # 924092
                                     Civil Chief

                                     By:             /s/
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                                CERTIFICATE OF SERVICE

       I certify that I caused copies of the foregoing Defendant’s Reply to Plaintiff’s Opposition

to Defendant’s Motion for Leave to be served on Plaintiff’s counsel via ECF.

                                                 /s/
                                             KENNETH ADEBONOJO
